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         IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF COLORADO

         Civil Action No. 1:21-CV-3417-NYW
         __________________________________________________

         DEPOSITION OF HOLLY NICHOLSON-KLUTH
         July 7, 2022
         __________________________________________________

         HOLLY KLUTH,

         Plaintiff,

         vs.

         TONY SPURLOCK, Individually and in
         his official capacity as Douglas County
         Sheriff,

         Defendant.
         __________________________________________________


         APPEARANCES:

         ·   ·   ·RATHOD|MOHAMEDBHAI, LLC
         ·   ·   · · · ·By Matthew J. Cron, Esq.
         ·   ·   · · · · · 2701 Lawrence Street Suite 100
         ·   ·   · · · · · Denver, Colorado· 80205
         ·   ·   · · · · · · Appearing on behalf of Plaintiff

         ·   ·   ·WELLS, ANDERSON & RACE, LLC
         ·   ·   · · · ·By William T. O'Connell, III, Esq.
         ·   ·   · · · · · 1700 Broadway, Suite 1020
         ·   ·   · · · · · Denver, Colorado· 80290
         ·   ·   · · · · · · Appearing on behalf of Defendant

         Also Present: Tony Spurlock




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   ·1· · · · Q· · ·Well, what about the portion of the
   ·2· ·clause that states "violations of Office Policy
   ·3· ·and Procedures"?
   ·4· · · · A· · ·At the time, I didn't feel that there
   ·5· ·was an office policy and procedure violation.
   ·6· · · · Q· · ·Despite the fact that you knew he was
   ·7· ·speaking to other members of command staff about
   ·8· ·providing quotes to Parker?
   ·9· · · · A· · ·In their personal capacity.
   10· · · · Q· · ·But you knew that Moore was doing that
   11· ·while at least partially -- or at times on duty,
   12· ·right?
   13· · · · A· · ·Yes.
   14· · · · Q· · ·Okay.· But you don't believe that that
   15· ·is an occasion of Moore demonstrating laxity in
   16· ·the performance of his duty or that such conduct
   17· ·violated office policies and procedures?
   18· · · · A· · ·No.
   19· · · · Q· · ·Sitting here today, almost two years
   20· ·later, do you believe that Moore seeking or
   21· ·inquiring about other command staff members
   22· ·providing these statements is, in fact, violating
   23· ·office policy and procedure?
   24· · · · A· · ·Not from a personal perspective.
   25· ·There --· And he also told me that he took



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   ·1· ·demoted or not.· I just know the timing of it.
   ·2· · · · Q· · ·Okay.· So you don't have any evidence
   ·3· ·that there's any type of causal connection?
   ·4· · · · A· · ·I don't have any evidence.
   ·5· · · · Q· · ·When you were assigned to captain of --
   ·6· ·Well, strike that.
   ·7· · · · · · · Who was in the position of captain of
   ·8· ·detentions immediately prior to you assuming that
   ·9· ·position?
   10· · · · A· · ·Tim Moore.
   11· · · · Q· · ·When you were moved -- or assigned
   12· ·captain of detentions, where was Moore moved or
   13· ·assigned to?
   14· · · · A· · ·To the Foundation training Academy, the
   15· ·Foundation building.
   16· · · · Q· · ·Okay.· The training academy, is that
   17· ·otherwise known as Highlands Ranch Law Enforcement
   18· ·Training Academy?
   19· · · · A· · ·Yes.
   20· · · · Q· · ·Was that a new captain's position at
   21· ·the training academy?
   22· · · · A· · ·Yes.
   23· · · · Q· · ·Now, I believe you've referenced here a
   24· ·couple times this morning that you and Sheriff
   25· ·Spurlock had some conversations about you having



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   ·1· ·to make a statement, as you refer to it in the
   ·2· ·complaint, about distancing yourself from his
   ·3· ·endorsement of Lisa Neal-Graves.
   ·4· · · · · · · Is that accurate?
   ·5· · · · A· · ·Yeah.
   ·6· · · · Q· · ·How many conversations did you have
   ·7· ·with the sheriff about that?
   ·8· · · · A· · ·Maybe one or two.
   ·9· · · · Q· · ·When was the first, if you recall?
   10· · · · A· · ·I don't recall.
   11· · · · Q· · ·Were there any witnesses to that
   12· ·conversation other than the two of you?
   13· · · · A· · ·I don't think so.
   14· · · · Q· · ·Where did that conversation take place?
   15· · · · A· · ·I believe one of them was in his
   16· ·office, but I don't have a lot of recollection of
   17· ·it.· I just remember us discussing it.
   18· · · · Q· · ·What specifically do you recall the
   19· ·sheriff stating?
   20· · · · A· · ·What I told him?
   21· · · · Q· · ·Well, yeah.· Let's just --· Let's take
   22· ·it from the top, then.· What you told him.· What
   23· ·he told you.· Let's start with what you told him.
   24· · · · A· · ·Over the month or two before he made
   25· ·it --· Sometime during the summer, maybe up until



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   ·1· ·the time he made the endorsement, he told me a
   ·2· ·couple times that he was thinking about doing it.
   ·3· ·And I just remember saying, "You know I can't have
   ·4· ·anything to do with that.· I'm thinking about
   ·5· ·running for sheriff," or something along those
   ·6· ·lines.· I --· And I don't really recall the words,
   ·7· ·but something to the effect of "I would have to
   ·8· ·make a statement personally that I didn't agree
   ·9· ·with that."
   10· · · · Q· · ·Okay.· What was the sheriff's reaction?
   11· · · · A· · ·I felt like he understood.
   12· · · · Q· · ·Well, how did you arrive at that
   13· ·feeling?
   14· · · · A· · ·I don't remember his words, but it
   15· ·wasn't negative.
   16· · · · Q· · ·Okay.· Well, was it positive?
   17· · · · A· · ·It was --· It --· To me --· From what I
   18· ·recollect, it was more of just, "Yeah, right.                   I
   19· ·understand," or something to that effect.
   20· · · · Q· · ·Did he actually say that?
   21· · · · A· · ·I don't remember the words.
   22· · · · Q· · ·Okay.· Did you memorialize that
   23· ·conversation at any time?
   24· · · · A· · ·No.
   25· · · · Q· · ·Now, that conversation or those



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   ·1· · · · Q· · ·As you sit here now, 14 months later,
   ·2· ·do you know what he meant?
   ·3· · · · A· · ·No.
   ·4· · · · Q· · ·According --· You also referenced this
   ·5· ·in your testimony, but according to your
   ·6· ·complaint, Sheriff Spurlock, during that meeting,
   ·7· ·stated to you that "Nothing had changed since last
   ·8· ·fall."
   ·9· · · · · · · Is that accurate?
   10· · · · A· · ·Yes.
   11· · · · Q· · ·Do you know what he was referring to?
   12· · · · A· · ·The only thing I could assume was my
   13· ·relationship with the Republican Party.
   14· · · · Q· · ·Why did you assume that's what he meant
   15· ·with that statement?
   16· · · · A· · ·Because that's what was going on during
   17· ·last fall, was my relationship with the Republican
   18· ·Party.
   19· · · · Q· · ·Do you have --· Are you aware of any
   20· ·evidence to support that belief, other than what
   21· ·you've just testified to?
   22· · · · A· · ·No.
   23· · · · Q· · ·Okay.· In your complaint at
   24· ·Paragraphs 111 through 113, there are allegations
   25· ·related to Captain Weekly's campaign candidacy for



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   ·1· · · · A· · ·I think personal loyalty.· I don't
   ·2· ·ever --· I didn't feel that anything we did was --
   ·3· ·or that I did was in direct disloyalty to him when
   ·4· ·I did it, and I didn't realize that he would be so
   ·5· ·upset about it or feel that way about it.
   ·6· · · · Q· · ·As Sheriff Spurlock's undersheriff, did
   ·7· ·you owe him a duty of loyalty?
   ·8· · · · A· · ·I guess that's kind of a complicated
   ·9· ·question.· I felt like he needed to be able to
   10· ·rely on me to carry out his duties and his desires
   11· ·and his mission, vision and values.· How I felt
   12· ·about him personally were my own feelings, but I
   13· ·would be -- or I wouldn't want someone to think
   14· ·that I was disloyal to him.
   15· · · · Q· · ·So as -- as the Douglas County sheriff,
   16· ·I don't mean as the man Tony -- or as the
   17· ·individual Tony Spurlock --
   18· · · · A· · ·Yeah.
   19· · · · Q· · ·-- but as Sheriff Tony Spurlock, did
   20· ·you owe him a duty of loyalty as his undersheriff?
   21· · · · A· · ·I believe so, yeah.
   22· · · · Q· · ·Okay.· Do you believe what you did, as
   23· ·far as texting the quote to Parker, posting the
   24· ·statement on Facebook, speaking to Moore about
   25· ·statements for the Douglas County GOP, did -- do



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   ·1· ·was able to see people and so forth; that maybe he
   ·2· ·wanted to bury me in the jail where I really
   ·3· ·didn't have those outside meetings with cities and
   ·4· ·towns and other quasi-government agencies; that I
   ·5· ·was uncovering things that hadn't been done.
   ·6· · · · · · ·So that was just kind of my impression
   ·7· ·when I got transferred to the jail.
   ·8· · · · Q· · ·That's what your assumption was?
   ·9· · · · A· · ·Yes.
   10· · · · Q· · ·Did you ever acquire any independent
   11· ·evidence to support that assumption?
   12· · · · A· · ·No.
   13· · · · Q· · ·On Kluth -1445, you identify a Bob
   14· ·Sexton.· Who's Bob Sexton?
   15· · · · A· · ·He's a district captain, I believe, in
   16· ·Castle Pines.
   17· · · · Q· · ·-1447 through -1471 are text between
   18· ·you and Kevin Duffy, according to the disclosure
   19· ·that accompanied these.· Take a look very quickly
   20· ·at Kluth -1455.
   21· · · · · · · MR. CRON:· Did you say -55?
   22· · · · · · · MR. O'CONNELL:· Yes
   23· · · · Q· · ·(By Mr. O'Connell)· Now, your texts are
   24· ·on the right-hand side, correct?
   25· · · · A· · ·I think so, yeah.



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   ·1· ·something to the effect that it looked -- made
   ·2· ·people think that we weren't on the same page.
   ·3· · · · · · · And I don't remember the other words he
   ·4· ·used but whatever he said made me feel bad that I
   ·5· ·had upset him and that I had done something that
   ·6· ·he wasn't happy with.
   ·7· · · · Q· · ·And my point at this hour of the day
   ·8· ·is --· And I'm not trying to retread over old
   ·9· ·ground, certainly, so if I asked you this before,
   10· ·then I apologize.· As you sit here today, roughly
   11· ·14 months after your termination and almost two
   12· ·years after your demotion, can you understand why
   13· ·he was upset if he was, in fact, upset?
   14· · · · A· · ·I think so, yeah.
   15· · · · Q· · ·Okay.· Do you bear any responsibility
   16· ·for the -- for why you were demoted from
   17· ·undersheriff to co-captain?
   18· · · · A· · ·On my Facebook post, I felt like I
   19· ·probably shouldn't have mentioned him, so maybe
   20· ·it would have been better had I just said,
   21· ·"Hey, here's" -- "here's what I feel.· I support
   22· ·conservative candidates" without calling him
   23· ·out --
   24· · · · Q· · ·Uh-huh.
   25· · · · A· · ·-- even though I didn't say anything



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    ·1· ·bad about him.
    ·2· · · · · · · In my discussions with Tim, I didn't
    ·3· ·think it was a problem at the time.· The fact that
    ·4· ·he believes it was a problem and there were policy
    ·5· ·violations and it was being disloyal to him makes
    ·6· ·me now wish I hadn't done it.· But at the time, I
    ·7· ·didn't think there was a problem with it.· I felt
    ·8· ·like he understood that we -- that we could make a
    ·9· ·statement and that we needed to make a statement.
    10· ·Obviously, I hadn't approved any statement or
    11· ·approved any social media post, but they were
    12· ·talking about it.
    13· · · · · · · When he first told me that he wasn't
    14· ·going to do an official investigation, there would
    15· ·be no Garrity, that they were just going to -- he
    16· ·was just going to get all the detail, to me it
    17· ·was, like, "Okay.· That makes sense."· And then it
    18· ·changed suddenly to a full investigation and
    19· ·calling someone in from the outside, so I really
    20· ·didn't know how it came -- how it went from one
    21· ·thing to another, what made him madder or made him
    22· ·want to take it more formal.
    23· · · · Q· · ·So with respect to your actions and
    24· ·inactions that led to your demotion from
    25· ·undersheriff to co-captain in patrol, is there --



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    ·1· ·STATE OF COLORADO)

    ·2· · · · · · · · · · )ss.· ·REPORTER'S CERTIFICATE

    ·3· ·COUNTY OF DENVER )

    ·4· · · · ·I, Tracy L. Harris, do hereby certify that I

    ·5· ·am a Certified Realtime Reporter, Registered Merit

    ·6· ·Reporter, within the State of Colorado; that

    ·7· ·previous to the commencement of the examination,

    ·8· ·the deponent was duly sworn to testify to the

    ·9· ·truth.

    10· · · · ·I further certify that this deposition was

    11· ·taken in shorthand by me at the time and place

    12· ·herein set forth, that it was thereafter reduced

    13· ·to typewritten form, and that the foregoing

    14· ·constitutes a true and correct transcript.

    15· · · · ·I further certify that I am not related to,

    16· ·employed by, nor of counsel for any of the parties

    17· ·or attorneys herein, nor otherwise interested in

    18· ·the result of the within action.

    19· · · · ·In witness whereof, I have affixed my

    20· ·signature this 18th day of July, 2022.

    21

    22

    23
    · ·    ·   ·   ·   ·   ·   ·   ·   ·   ·   ·_______________________________
    24·    ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Tracy L. Harris, CRR, RMR, RPR
    · ·    ·   ·   ·   ·   ·   ·   ·   ·   ·   ·216 - 16th Street, Suite 600
    25·    ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Denver, Colorado 80202



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